       Case 1:20-cv-03677-LGS-KHP Document 82
                                           77 Filed 10/21/20
                                                    10/20/20 Page 1 of 1




Charles Low                                                         10/21/2020                         Via CM/ECF
+1 212 479 6859
chlow@cooley.com


                                                                     Defendant's Motion to Temporarily Seal is GRANTED.
October 20, 2020

The Hon. Katharine H. Parker
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, NY 10007
                                                                       Date: October 21, 2020

Re: Mahood et al. v, Noom, Case No. 20-cv-3677 (LGS) (KHP): Letter Motion for Redaction of Joint
    Letter and Hearing Transcript

Dear Judge Parker:

         Defendant Noom, Inc. (“Noom”) writes to follow up on its October 15, 2020 Letter Motion for
Redaction of Joint Letter and Hearing Transcript (“the October 15 Letter”). As noted in the October 15
Letter, the October 13 Hearing Transcript (“Hearing Transcript”) was not available at the time the October
15 Letter was filed, and Noom informed the Court it would submit the proposed redactions to the Hearing
Transcript as soon as the transcript became available. (ECF No. 69 at 3 n.2).

         The Hearing Transcript is now available, and Noom submits this letter respectfully requesting that
the Court redact and seal the designated portions of the Hearing Transcript for the same reasons set forth
in its October 15 Letter.

        Plaintiffs have since filed their own letter stating that they do not object to temporarily redacting and
sealing these portions of the Hearing Transcript, (ECF No. 74), and the Court granted Noom’s sealing
request in its October 15 Letter, (ECF No. 75).

       In accordance with the Court’s Individual Practices and the Southern District of New York’s
Standing Order 19-mc-00583, Noom has filed this letter motion publicly on ECF, and has also filed the
proposed redacted Hearing Transcript contemporaneously under seal via ECF.



Sincerely,

/s/ Charles Low

Charles Low




                          Cooley LLP 101 California Street 5th Floor San Francisco, CA 94111-5800
                                       t: (415) 693-2000 f: (415) 693-2222 cooley.com
